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                8
                9                       UNITED STATES DISTRICT COURT
               10                      CENTRAL DISTRICT OF CALIFORNIA
               11                              WESTERN DIVISION
               12 CHRISTOPHER EDWARD COPE,                  CASE NO. 2:22-cv-01384 SSS (ASx)
                  CHRISTOPHER EDWARD
               13 MONTAGUE, FABIAN ANDRES                   Judge Sunshine Suzanne Sykes
                  ACUNA, ADAM SPENCER KAMPF
               14 and DENTON BEDWARD,                       DEFENDANTS’ NOTICE OF
                                                            MOTION AND MOTION TO
               15              Plaintiffs,                  DISMISS PLAINTIFFS’ FIRST
                                                            AMENDED COMPLAINT;
               16        v.                                 MEMORANDUM OF POINTS AND
                                                            AUTHORITIES IN SUPPORT
               17 WARNER RECORDS, INC., a                   THEREOF
                  Delaware corporation, DUA LIPA, an
               18 individual, CLARENCE COFFEE, JR.,         Time:         2:00 p.m.
                  an individual, SARAH HUDSON, an           Date:         December 16, 2022
               19 individual, STEPHEN KOZMENIUK,
                  an individual and DOES 1 through 10,      File Date:    March 1, 2022
               20                                           Trial Date:   None Set
                               Defendants.
               21                                           [Declaration of David A. Steinberg and
                                                            [Proposed] Order Submitted
               22                                           Concurrently Herewith]
               23
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                1                          NOTICE OF MOTION AND MOTION
                2         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                3         PLEASE TAKE NOTICE THAT, on December 16, 2022, in the
                4 courtroom of the Honorable Sunshine Suzanne Sykes of the United States District
                5 Court for the Central District of California, 3470 Twelfth Street, Courtroom 2,
                6 Riverside, CA 92501, at 2:00 p.m., or as soon thereafter as the matter may be
                7 heard, Defendants Warner Records Inc., Dua Lipa, Clarence Coffee, Jr., Sarah
                8 Hudson, and Stephen Kozmeniuk (collectively, “Defendants”), shall and hereby do
                9 move this Court pursuant to Federal Rule of Civil Procedure 12(b)(6) for an order
               10 dismissing the First Amended Complaint (“FAC”) filed by Plaintiffs Christopher
               11 Edward Cope, Christopher Edward Montague, Fabian Andres Acuna, Adam
               12 Spencer Kampf, and Denton Bedward (collectively, “Plaintiffs”) on September 19,
               13 2022, in its entirety.
               14
               15         This Motion is made on the grounds that Plaintiffs fail to sufficiently plead
               16 that Defendants had access to “Live Your Life” before creating “Levitating” or that
               17 the works are substantially similar, both of which are basic and necessary elements
               18 of their copyright infringement claim.
               19
               20         This Motion is and will be based on this Notice of Motion and Motion, the
               21 accompanying Memorandum of Points and Authorities, the Declaration of David
               22 A. Steinberg (“Steinberg Decl.”), the pleadings and orders in the Court’s files for
               23 this case, any matters on which the Court may or must take judicial notice, any
               24 reply that is filed in support of this Motion, any argument presented at the hearing
               25 on this Motion, and any other matters the Court deems proper.
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               1         This Motion is made following the conference of counsel, held pursuant to
               2 Local Rule 7-3, that took place via telephone conference on November 7, 2022.
               3 Steinberg Decl., ¶ 4.
               4
                    DATED: November 14, 2022          DAVID A. STEINBERG
               5                                      GABRIELLA N. ISMAJ
                                                      MITCHELL SILBERBERG & KNUPP LLP
               6
               7
               8                                      By: /s/ David A. Steinberg
                                                           David A. Steinberg
               9                                           Attorneys for Defendants
                                                           Warner Records Inc., Dua Lipa,
               10                                          Clarence Coffee, Jr., Sarah Hudson,
                                                           and Stephen Kozmeniuk
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                1                  MEMORANDUM OF POINTS AND AUTHORITIES
                2 I.         INTRODUCTION1
                3            Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure,
                4 Defendants Warner Records Inc. (“Warner”), Dua Lipa, Clarence Coffee, Jr., Sarah
                5 Hudson, and Stephen Kozmeniuk (collectively, “Defendants”) hereby move for an
                6 Order dismissing the First Amended Complaint (“FAC”) for copyright
                7 infringement filed by Plaintiffs Christopher Edward Cope, Christopher Edward
                8 Montague, Fabian Andres Acuna, Adam Spencer Kampf, and Denton Bedward
                9 (collectively, “Plaintiffs”) on September 19, 2022, in its entirety.
               10            In the FAC, Plaintiffs allege that Defendants’ musical composition and
               11 sound recording “Levitating,” embodying the performance of Dua Lipa, infringes
               12 Plaintiffs’ copyright in the musical composition entitled “Live Your Life.”
               13 However, the FAC fails to comply with the most basic pleading requirements of
               14 the Federal Rules as applied to copyright infringement actions.
               15            First, the FAC fails to allege under any plausible theory that the writers of
               16 “Levitating” had access to “Live Your Life” prior to creating “Levitating.” As
               17 discussed below, Plaintiffs must allege facts demonstrating those writers had a
               18 reasonable possibility of access to “Live Your Life” prior to creating “Levitating”
               19 either by demonstrating that “Live Your Life” was widely disseminated prior to the
               20 creation of “Levitating” or by alleging a chain of events linking “Live Your Life”
               21 to the “Levitating” writers. But Plaintiffs do not allege such facts. Instead,
               22 Plaintiffs assert vague allegations of purported unspecified performances and sales
               23 of “Live Your Life” with no detail whatsoever regarding the size, location, date, or
               24 number of the alleged performances, or the quantity, date and location of the
               25 purported sales of “Live Your Life.” And while Plaintiffs also attempt to plead
               26 access through the alleged dissemination of “Live Your Life” on the Internet, they
               27
                    1
  Mitchell     28       Unless noted, all emphasis is added and all citations and quotation marks omitted.
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                1 also fail to provide a single fact or detail as to the number of streams or downloads
                2 of the work. Similarly, Plaintiffs’ tortuous chain of events allegations are based on
                3 many degrees of separation and are far too attenuated to plead any “reasonable
                4 possibility” of the “Levitating” writers’ access to “Live Your Life.” In other
                5 words, even if true, Plaintiffs’ access allegations could not, as a matter of law,
                6 establish that the writers of “Levitating” had a reasonable opportunity to hear
                7 “Live Your Life” prior to creating “Levitating.”
                8         Second, Plaintiffs fail to allege a single fact that identifies what material
                9 from “Live Your Life” is copied in “Levitating.” Instead, Plaintiffs merely
               10 conclusorily allege purported similarities between the two works without any
               11 factual detail whatsoever. As discussed below, Plaintiffs must allege facts that
               12 could support a claim under the United States Copyright Act for infringement of
               13 their alleged copyright, including, but not limited to, facts that demonstrate any
               14 substantial similarities in original, protectable elements between “Live Your Life”
               15 and “Levitating.” But the FAC contains nothing more than blanket legal
               16 conclusions unsupported by any facts, such as: “‘Live Your Life’ and ‘Levitating’
               17 are substantially similar in their main melodic theme, supportive harmonies, and
               18 accompaniment” and “are both set to minor keys and have similar tempos and
               19 overall feel or style.” FAC, ¶¶ 27-28. These conclusory allegations are
               20 insufficient to state a claim for copyright infringement.
               21         As this Court is aware, this is Plaintiffs’ second attempt at pleading a
               22 copyright infringement claim. Plaintiffs’ Initial Complaint (ECF 1) similarly failed
               23 to allege any facts regarding the purported similarities between the works at issue
               24 (alleging only that “‘Levitating’ is substantially similar to ‘Live Your Life.’” Id.,
               25 ¶ 18), or that Defendants had access to “Live Your Life” prior to the creation of
               26 “Levitating.” Prior to Plaintiffs’ filing of the FAC, the parties met and conferred
               27 regarding the Initial Complaint, and Defendants put Plaintiffs on express notice of
  Mitchell     28 their deficient substantial similarity and access allegations. Plaintiffs then
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                1 amended the Initial Complaint as of right, and still failed to plausibly allege that
                2 the “Levitating” writers had access to “Live Your Life” prior to the creation of
                3 “Levitating” or to provide any factual or musicological support that “Levitating”
                4 infringes any protectable expression in “Live Your Life.” Defendants submit that
                5 Plaintiffs’ failure to allege such facts is intentional, because Plaintiffs know that
                6 they cannot plead that the “Levitating” writers had the requisite access to “Live
                7 Your Life” or that any actionable similarities exist between “Live Your Life” and
                8 “Levitating.”
                9         The FAC should be dismissed.
               10 II.     FACTUAL BACKGROUND2
               11         Plaintiffs initiated this copyright infringement action against Defendants on
               12 March 1, 2022. ECF 1. Following a meet and confer in which Defendants raised
               13 deficiencies in Plaintiffs’ pleading (including as to Plaintiffs’ substantial similarity
               14 and access allegations), Plaintiffs filed the FAC on September 19, 2022. ECF 52.
               15         Plaintiffs allege that they are the authors and copyright owners of a musical
               16 composition entitled “Live Your Life.” FAC, ¶¶ 14-15 & Ex. A. Plaintiffs allege
               17 that Defendants’ musical composition and sound recording “Levitating” infringes
               18 Plaintiffs’ copyright interests in the musical composition “Live Your Life.”3 Id.,
               19 ¶¶ 14-30. Plaintiffs have asserted their claim for infringement against the four
               20 writers of “Levitating”—Dua Lipa, Clarence Coffee, Sarah Hudson, and Stephen
               21
               22   2
                      Any facts and/or allegations set forth herein taken from the FAC are presumed to
               23   be true solely for purposes of this Motion.
                    3
                      There are two types of musical works: sound recordings and their underlying
               24   musical compositions. Each are separate works with their own distinct copyrights.
                    A musical composition consists of rhythm, harmony, melody, and structure
               25   captured in written form. Newton v. Diamond, 204 F. Supp. 2d 1244, 1249 (C.D.
                    Cal. 2002), aff’d, 388 F.3d 1189 (9th Cir. 2004). A musical composition copyright
               26   protects the sound that would necessarily result from any performance of the piece.
                    Id. A sound recording, on the other hand, is the sound produced by a performer’s
               27   rendition of a musical composition. Id. In this case, only the musical composition
                    “Live Your Life” is at issue; there is no allegation that the sound recording of
  Mitchell     28   “Live Your Life” was sampled or otherwise infringed.
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                1 Kozmeniuk—and the record company that released the sound recording thereof,
                2 Warner.
                3         A.    The FAC’s Insufficient Access Allegations
                4         The FAC fails to plead sufficient factual allegations regarding the
                5 “Levitating” writers’ purported access to “Live Your Life” prior to the creation of
                6 “Levitating.” Plaintiffs appear to allege access based on two theories: widespread
                7 dissemination and chain of events. Both access theories fail to state a claim for
                8 copyright infringement.
                9         Plaintiffs’ widespread dissemination allegations are based on (i) Plaintiffs’
               10 alleged performances of “Live Your Life” at unspecified venues in Florida to
               11 audiences of unspecified size from March 31, 2017 until August 28, 2018 (FAC,
               12 ¶ 18); (ii) the alleged sale of only several hundred physical copies of Smoke and
               13 Mirrors (the album containing “Live Your Life”) at a local music store and to
               14 audiences of unspecified size at the various unspecified venues at which Plaintiffs
               15 performed (id., ¶ 23); (iii) the use of “Live Your Life” in a video commercial for a
               16 “Beerfest” in Delray Beach, Florida which promoted local bars and restaurants (id.,
               17 ¶ 21); (iv) the Smoke and Mirrors EP charting at #2 on Billboard’s Reggae chart in
               18 April 2017 (id., ¶ 19); and (v) the availability of “Live Your Life” for streaming
               19 and/or download on various online platforms (id., ¶ 22-23).
               20         Plaintiffs’ “chain of events” access allegations appear to be based on the
               21 following alleged facts: (i) Defendant Coffee is a member of a production team
               22 that originated in Miami, Florida which produced an entirely different song on
               23 Dua Lipa’s album (not “Levitating”), entitled “Break My Heart” (FAC, ¶¶ 24-25),
               24 and (ii) Ali Tamposi, who is alleged to be one of the co-writers of “Break My
               25 Heart” (but not “Levitating”), was taught guitar by Plaintiff Cope’s brother in law
               26 and is connected to Cope on Facebook (where Cope posted unspecified news about
               27 Plaintiffs’ reggae band) (id., ¶ 26). None of these allegations, even if true, would
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                1 establish that the writers of “Levitating” had a reasonable opportunity to hear
                2 “Live Your Life” prior to creating “Levitating.”
                3         B.     The FAC’s Insufficient Substantial Similarity Allegations
                4         Nowhere in the FAC are there any factual allegations regarding alleged
                5 similarities between original, protectable elements of “Live Your Life” and
                6 “Levitating.” The only allegations proffered are the following vague, boilerplate
                7 labels and conclusions: “‘Live Your Life’ and ‘Levitating’ are substantially similar
                8 in their main melodic theme, supportive harmonies, and accompaniment” and “are
                9 both set to minor keys and have similar tempos and overall feel or style.” FAC,
               10 ¶¶ 27-28.
               11         As noted above, the parties met and conferred following the filing of
               12 Plaintiffs’ Initial Complaint and prior to the filing of the FAC regarding the
               13 pleading deficiencies present in the Initial Complaint. During that meet and
               14 confer, Defendants specifically addressed the deficiencies in Plaintiffs’ substantial
               15 similarity and access allegations. Even after being put on notice of same, Plaintiffs
               16 still failed to properly allege substantial similarity and access in filing the FAC.
               17 The FAC should be dismissed in its entirety.
               18 III.    LEGAL STANDARD
               19         Pursuant to Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a
               20 complaint when it does not contain enough facts to state a claim for relief that is
               21 plausible on its face. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
               22 “A claim has facial plausibility when the plaintiff pleads factual content that allows
               23 the court to draw the reasonable inference that the defendant is liable for the
               24 misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The
               25 plausibility standard is not akin to a ‘probability requirement,’ but it asks for more
               26 than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting
               27 Twombly, 550 U.S. at 556). While the Federal Rules of Civil Procedure do not
  Mitchell     28 require “detailed factual allegations,” a pleading that offers mere “labels and
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                1 conclusions” or a “formulaic recitation of the elements of a cause of action will not
                2 do.” Twombly, 550 U.S. at 555. “Nor does a [pleading] suffice if it tenders ‘naked
                3 assertion[s]’ devoid of ‘further factual enhancement.’” Iqbal, 556 U.S. at 678. To
                4 the contrary, to survive a motion to dismiss, a pleading “must contain sufficient
                5 factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
                6 face.’” Id.; Twombly, 550 U.S. at 555 (“Factual allegations must be enough to
                7 raise a right to relief above the speculative level”). “A claim has facial plausibility
                8 when the plaintiff pleads factual content that allows the court to draw the
                9 reasonable inference that the defendant is liable for the misconduct alleged.”
               10 Iqbal, 556 U.S. at 678. Ascertaining whether there is a plausible claim for relief is
               11 a “context-specific task that requires the reviewing court to draw on its judicial
               12 experience and common sense.” Id. at 679.
               13         Dismissal for failure to state a claim can be warranted based on either a lack
               14 of a cognizable legal theory or the absence of factual support for a cognizable legal
               15 theory. See Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th
               16 Cir. 2008). While a court must accept the plaintiff’s factual allegations as true and
               17 construe them in the light most favorable to the plaintiff, “[f]or an allegation to be
               18 entitled to the assumption of truth, however, it must be well-pleaded; that is, it
               19 must set forth a non-conclusory factual allegation rather than a legal conclusion.”
               20 Maiden v. Finander, 2013 WL 5969840, at *2 (C.D. Cal. Nov. 6, 2013) (citing
               21 Iqbal, 556 U.S. at 678-79); see also Twombly, 550 U.S. at 556. As such, “[t]he
               22 Court need not accept as true unreasonable inferences, unwarranted deductions of
               23 fact, or conclusory legal allegations cast in the form of factual allegations.”
               24 Maiden, 2013 WL 5969840, at *2; see also Adams v. Johnson, 355 F.3d 1179,
               25 1183 (9th Cir. 2004).
               26         Dismissal under Rule 12(b)(6) is appropriate when a plaintiff fails to allege
               27 access or delineate the basis upon which they claim that two works are
  Mitchell     28 substantially similar. See, e.g., Hayes v. Minaj, 2012 WL 12887393, at *3-5 (C.D.
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                1 Cal. Dec. 18, 2012) (dismissing copyright claim regarding musical work where
                2 complaint failed to adequately allege substantial similarity and access); Shaheed-
                3 Edwards v. Syco Entm’t, Inc., 2017 WL 6403091, at *3 (C.D. Cal. Dec. 14, 2017)
                4 (“merely conclusory” allegations of similarity between musical works “fail[] to
                5 state a claim for copyright infringement”) (dismissing copyright claim); Evans v.
                6 McCoy-Harris, 2019 WL 1002512, at *3 (C.D. Cal. Jan. 4, 2019) (dismissing
                7 copyright claim for failure to plead substantial similarity: “conclusory statements
                8 do not satisfy Iqbal’s pleading standard”); Mintz v. Subaru of Am., Inc., 716 F.
                9 App’x 618, 621 (9th Cir. 2017) (affirming grant of motion to dismiss: “[w]ithout
               10 specific allegations that any Subaru employee viewed any of the publications in
               11 which her designs were featured or that the publications were widely disseminated
               12 to the general public, Mintz has not plausibly alleged that Subaru had access to her
               13 works.”); Star Fabrics, Inc. v. Wet Seal, Inc., 2014 WL 12591271, at *3-4 (C.D.
               14 Cal. Dec. 2, 2014) (granting motion to dismiss for failure to plead access via chain
               15 of events or widespread dissemination).4
               16         The FAC should be dismissed because Plaintiffs utterly fail to allege any
               17 facts that, even if true, could establish access; nor do the FAC’s allegations
               18 remotely satisfy the standard for pleading substantial similarity. These conclusory
               19 and vague allegations are insufficient to state a claim for copyright infringement.
               20 IV.     THE FAC FAILS TO STATE A CLAIM FOR COPYRIGHT
               21         INFRINGEMENT
               22         To establish copyright infringement, a plaintiff must prove two elements:
               23 (1) ownership of a valid copyright and (2) copying of protected aspects of the
               24
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               25  See also Arnett v. Jackson, 2017 WL 3493606, at *3 (E.D.N.C. Aug. 14, 2017)
                  (granting motion to dismiss with prejudice where plaintiff failed to sufficiently
               26 allege access); Feldman v. Twentieth Century Fox Film Corp., 723 F. Supp. 2d
                  357, 366 (D. Mass. 2010) (dismissing copyright infringement claim because
               27 plaintiff “failed to allege facts sufficient to demonstrate reasonable opportunity of
                  access”); Clanton v. UMG Recordings, Inc., 556 F. Supp. 3d 322, 328 (S.D.N.Y.
  Mitchell     28 2021) (granting motion to dismiss based on failure to sufficiently plead access).
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                1 work. Skidmore v. Led Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020); Loomis v.
                2 Cornish, 836 F.3d 991, 994 (9th Cir. 2016). Regarding the latter element,
                3 “[a]bsent direct evidence of copying,” Plaintiffs must prove that: (1) the
                4 “Levitating” writers had access to “Live Your Life” before creating “Levitating”
                5 and (2) “Live Your Life” and “Levitating” are substantially similar in original,
                6 protectable expression. Loomis, 836 F.3d at 994; Skidmore, 952 F.3d at 1064; see
                7 also Funky Films, Inc. v. Time Warner Enm’t Co., 462 F.3d 1072, 1076 (9th Cir.
                8 2006).
                9         Plaintiffs fail to sufficiently plead either element of their infringement claim.
               10 The FAC should be dismissed.
               11         A.    Plaintiffs Fail To Adequately Allege Access
               12         Plaintiffs fail to adequately allege that the writers of “Levitating” had access
               13 to “Live Your Life” before creating “Levitating.” In the copyright context, access
               14 means that the creators of the allegedly infringing work had “an opportunity to
               15 view or to copy plaintiff’s work.” Loomis, 836 F.3d at 995. “[A] plaintiff must
               16 show a reasonable possibility, not merely a bare possibility, that an alleged
               17 infringer had the chance to view the protected work.” Art Attacks Ink, LLC v.
               18 MGA Entm’t Inc., 581 F.3d 1138, 1143 (9th Cir. 2009). Put differently, a
               19 reasonable opportunity requires more than mere speculation or conjecture and
               20 “does not encompass any bare possibility in the sense that anything is possible.”
               21 Three Boys Music Corp. v. Bolton, 212 F.3d 477, 482 (9th Cir. 2000) (quoting 4
               22 Nimmer on Copyright § 13.02[A] (1999)).
               23         Access can be proven through direct evidence of access or, “[w]here there is
               24 no direct evidence of access, circumstantial evidence can be used to prove access
               25 either by (1) establishing a chain of events linking the plaintiff’s work and the
               26 defendant’s access, or (2) showing that the plaintiff’s work has been widely
               27 disseminated.” Loomis, 836 F.3d at 995. Here, Plaintiffs do not allege direct
  Mitchell     28 access. Instead, Plaintiffs attempt to allege access based on the purported
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                1 widespread dissemination of “Live Your Life” and through purported
                2 circumstantial evidence establishing a chain of events linking “Live Your Life” to
                3 the “Levitating” writers. Plaintiffs fail to state a claim under either theory.
                4               1.     Plaintiffs Fail To Sufficiently Plead Access Through The
                5                      Purported Widespread Dissemination Of “Live Your Life”
                6         In order to plead widespread dissemination, a plaintiff must allege its work
                7 “saturat[ed] a relevant market in which both the plaintiff and the defendant
                8 participate[d].” Loomis, 836 F.3d at 997. Widespread dissemination “centers on
                9 the degree of a work’s commercial success and on its distribution through radio,
               10 television, and other relevant mediums.” Id. In that regard, “the public
               11 dissemination necessary to infer that a defendant might have had access to the
               12 work is considerable.” Loomis v. Cornish, 2013 WL 6044345, at *10 (C.D. Cal.
               13 Nov. 13, 2013), aff’d, 836 F.3d 991. “As a general matter, in order for a work to
               14 be widely disseminated, it must achieve a high degree of commercial success or
               15 be readily available in the market.” Id. (collecting cases).
               16         Plaintiffs’ widespread dissemination theory is based on: (i) Plaintiffs’
               17 alleged performances of “Live Your Life” at various unspecified venues in Florida
               18 to audiences of unspecified size from March 31, 2017 until August 28, 2018 (FAC,
               19 ¶ 18); (ii) the alleged sale of only approximately several hundred physical copies
               20 of Smoke and Mirrors at a local music store and to audiences of unspecified size at
               21 the various unspecified venues at which Plaintiffs allegedly performed (id., ¶ 23);
               22 (iii) the use of “Live Your Life” in a video commercial for a “Beerfest” in Delray
               23 Beach, Florida which promoted local bars and restaurants (id., ¶ 21); (iv) the
               24 Smoke and Mirrors EP containing “Live Your Life” charting at #2 on Billboard’s
               25 Reggae chart in April 2017 (id., ¶ 19); and (v) the availability of “Live Your Life”
               26 for streaming and/or download on various online platforms (id., ¶ 22-23). Even if
               27 true, these allegations do not sufficiently allege that “Live Your Life” was so
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                1 widely disseminated as to make it reasonably possible that the “Levitating” writers
                2 had the opportunity to hear it before creating “Levitating.”
                3                      a.     Plaintiffs’ Vague Allegations Of Unspecified
                4                             Performances And Sales Of “Live Your Life” And
                5                             Alleged Critical Acclaim Are Insufficient
                6         Plaintiffs’ allegations as to their purported performances and sales of “Live
                7 Your Life” fail to sufficiently plead widespread dissemination. Plaintiffs do not
                8 plead any details whatsoever regarding the size, location, date, or number of
                9 alleged performances that took place, or the quantity, date and location of the
               10 purported sales of “Live Your Life.” Instead, the FAC only conclusorily and
               11 vaguely alleges that, during an approximate one-year period, “Live Your Life” was
               12 allegedly performed “in numerous venues” and its album sold “approximately
               13 several hundred physical copies at a local music store and to audiences at the
               14 various venues at which it played.” FAC, ¶¶ 18, 23. These allegations are
               15 insufficient. See, e.g., Klauber Brothers, Inc. v. P.J. Salvage, 2018 WL 6984817,
               16 at *4 (C.D. Cal. Oct. 30, 2018) (dismissing complaint that did not state “the
               17 approximate quantity of products sampled and sold, the approximate number of
               18 parties in the fashion and apparel industries to whom the Lace Designs were
               19 distributed, the channel(s) of distribution, the approximate time of this distribution
               20 and whether that was before or after Defendants’ purported infringing activities”);
               21 Star Fabrics, 2014 WL 12591271, at *4 (no widespread dissemination alleged
               22 where plaintiff “does not allege the approximate quantity of fabric bearing the
               23 design that it has distributed [or] the approximate number of parties in the fashion
               24 and apparel industries to whom it has distributed the design”).5
               25
                    5
                    Even assuming that Plaintiffs’ allegation as to several hundred sales of its album
               26 is true, that allegation would likewise fail to support a widespread dissemination
                  theory. See, e.g., Art Attacks Ink, 581 F.3d at 1144 (T-shirt design not widely
               27 disseminated where plaintiff sold 2,000 shirts a year and displayed the design at
                  fair booths and store kiosks); Rice v. Fox Broad. Co., 330 F.3d 1170, 1178 (9th
  Mitchell     28 Cir. 2003) (no widespread dissemination where plaintiff sold 17,000 copies of a
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                1         Importantly, the FAC alleges that such performances and hard copy sales
                2 took place in Florida. See, e.g., id., ¶ 18 (performances “principally in Florida”);
                3 ¶ 21 (“video commercial for Delray Beach, Florida’s ‘Beerfest 2018,’ which
                4 promoted tours of local bars and restaurants”); ¶ 23 (album sold “at a local music
                5 store and to audiences at the various venues at which it played”). The FAC is
                6 devoid of any facts alleging that the “Levitating” writers attended or were aware of
                7 these performances, or that they participated in the “local” Florida music scene in
                8 which Plaintiffs participated. Indeed, the FAC does not allege any facts
                9 connecting the “Levitating” writers to Florida whatsoever.
               10         These allegations cannot reasonably satisfy Plaintiffs’ pleading obligations.
               11 Courts consistently reject access based on purported widespread dissemination
               12 where, like here, a plaintiff’s work only reached a limited audience. In that regard,
               13 the Ninth Circuit’s decision in Loomis v. Cornish is directly on point. In Loomis,
               14 the plaintiff argued access based on the fact that the defendant songwriters were in
               15 Santa Barbara for writing sessions at the time when Santa Barbara was “saturated”
               16 with the allegedly infringed work through “tons of airplay” on local radio stations
               17 and due to various newspapers writing stories about the plaintiff’s band’s
               18 achievements. 836 F.3d at 998. The Court held that these facts could not establish
               19 access through widespread dissemination as a matter of law:
               20               [The defendants] were not participating in the relevant
               21               market—the Santa Barbara local music scene—during
               22               their brief stay in Santa Barbara. Their production
               23               responsibilities had nothing to do with listening to local
               24               radio, reading local press, or scouting local bands, and
               25               there was no evidence that they undertook any other
               26
               27 video over a 13-year period); Jason v. Fonda, 526 F. Supp. 774, 776-77 (C.D. Cal.
                  1981) (book sales of no more than 2,000 copies nationwide and no more than 700
  Mitchell     28 copies in Southern California were insufficient).
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                1                activity in that market that created a reasonable
                2                possibility of access to Bright Red Chords. Although
                3                there was a bare possibility that they heard Bright Red
                4                Chords on the radio, or that they read about Loomis and
                5                the Lust in a magazine in the break room of Playback
                6                Studios, or that they picked up one of Loomis’s
                7                promotional CDs while at Playback, that is not enough to
                8                raise a triable issue of access.
                9 Id. Numerous other cases are in accord. See, e.g., Guzman v. Hacienda Records &
               10 Rec. Studio, Inc., 2014 WL 6982331, at *2, 5-6 (S.D. Tex. Dec. 9, 2014), aff’d 808
               11 F.3d 1031 (5th Cir. 2015) (no widespread dissemination or access where plaintiff’s
               12 song was performed for many years “at dance halls, concerts, and weddings in
               13 Corpus Christi and surrounding towns” and “did not achieve popularity outside of
               14 the Tejano music scene”); Batiste v. Lewis, 976 F.3d 493, 503-04 (5th Cir. 2020)
               15 (no access under either a widespread dissemination or chain of events theory where
               16 plaintiff’s record “show[ed] meager sales in only a handful of local stores[,]” and
               17 defendants’ performance near a store where plaintiff’s records were sold created
               18 only a “bare possibility of access”); Loomis, 2013 WL 6044345, at *11 (“evidence
               19 of small circulation . . . or local air time without other proof of access is generally
               20 not enough to demonstrate a reasonable possibility of access”); McRae v. Smith,
               21 968 F. Supp. 559, 565 (D. Co. 1997) (performances in Colorado and Wyoming
               22 insufficient to establish access where defendants were not in those States at the
               23 time).
               24          Plaintiffs’ allegation that the Smoke and Mirrors EP containing “Live Your
               25 Life” charted at #2 on Billboard’s Reggae chart for a single month in April 2017
               26 also is not probative of the reach of “Live Your Life.” All this alleged fact may
               27 show is that the name of the album—and not the specific song “Live Your Life”—
  Mitchell     28 appeared on a chart in a niche genre of music. Again, Plaintiffs have not alleged
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                1 that the writers of “Levitating” participate in the reggae genre. Thus, it is nothing
                2 more than sheer speculation to assume that the “Levitating” writers saw the name
                3 of Plaintiffs’ album on Billboard, sought the album out, and then listened to every
                4 single song on the album, including “Live Your Life.”
                5                       b.    The Mere Availability Of “Live Your Life” On The
                6                             Internet Is Insufficient To Allege Widespread
                7                             Dissemination
                8         Plaintiffs’ allegations that “Live Your Life” was available to stream and/or
                9 download on the Internet likewise fail to sufficiently plead access. Plaintiffs
               10 vaguely allege that “Live Your Life” “appeared on a variety of streaming services”
               11 and was “available online both via streaming and downloads” from 2017-2018.
               12 FAC, ¶¶ 22, 23. Tellingly, however, Plaintiffs again fail to allege any facts as to
               13 how many streams and/or downloads of “Live Your Life” took place during that
               14 one-year period. Plaintiffs’ failure to plead any such facts is fatal to their claim.
               15         Indeed, “[t]he availability of a copyrighted work on the Internet, in and of
               16 itself, is insufficient to show access through widespread dissemination.” Loomis,
               17 2013 WL 6044345, at *12; Batts v. Adams, 2011 WL 13217923, at *4 (C.D. Cal.
               18 Feb. 8, 2011) (“[T]he posting of videos and/or songs on YouTube, Amazon.com,
               19 and iTunes by an unknown singer . . . is hardly ‘widespread’ [dissemination] and,
               20 in fact, is quite limited, and clearly insufficient to support a finding of access”).
               21         Here, Plaintiffs have alleged nothing more than the “mere availability” of
               22 “Live Your Life” online. Plaintiffs have provided zero facts as to the scope of the
               23 alleged distribution of “Live Your Life” on the Internet. Such bare assertions of
               24 internet presence are insufficient to plead widespread dissemination. See, e.g.,
               25 Clanton, 556 F. Supp. 3d at 328 (granting motion to dismiss: “[a]s a matter of law,
               26 the fact that the Subject Composition was posted on the internet is insufficient on
               27 its own to show ‘wide dissemination.’ Were it otherwise, any work that any person
  Mitchell     28 uploaded publicly to the internet would have to be considered sufficiently ‘widely
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                1 disseminated’ to give rise to an inference that every person had heard it—an
                2 inference that would be plainly unreasonable.”); Minaj, 2012 WL 12887393, at *5
                3 (“[T]he mere fact that the video was placed on YouTube does not establish it was
                4 disseminated widely.”) (granting motion to dismiss on access grounds); Hayes v.
                5 Keyes, 2014 WL 12586731, at *2 (C.D. Cal. Nov. 10, 2014) (“Plaintiffs’ sole
                6 allegation with regard to access is that the work was uploaded to YouTube in 2009.
                7 However, this does not imply it was disseminated widely, and the Complaint
                8 provides no facts to support such an inference.”) (granting motion to dismiss).
                9                2.    Plaintiffs’ “Chain of Events” Allegations Also Fail To
               10                      Sufficiently Allege Access
               11         The FAC also fails to plausibly allege access through a particular chain of
               12 events. The FAC merely alleges that (i) Defendant Coffee is a member of a
               13 production team that originated in Miami, Florida, which team produced an
               14 entirely different song on Dua Lipa’s album (not “Levitating”), entitled “Break
               15 My Heart” (FAC, ¶¶ 24-25), and (ii) one of the co-writers of “Break My Heart,”
               16 non-party Ali Tamposi, was taught guitar by Plaintiff Cope’s brother in law and is
               17 also connected to Cope on Facebook (where Cope posted unspecified news about
               18 Plaintiffs’ band) (id., ¶ 26).
               19         Plaintiffs’ tortured chain of events allegations are insufficient to raise a
               20 reasonable possibility that the writers of “Levitating” had access to “Live Your
               21 Life” prior to the creation of “Levitating.” They amount to nothing more than a
               22 speculative, attenuated theory based on numerous degrees of separation, none of
               23 which establish any link—let alone a concrete link—between the writers of
               24 “Levitating” and “Live Your Life.” Plaintiffs are essentially seeking to plead
               25 access by alleging that someone who knows someone who knows someone might
               26 have met one of the “Levitating” writers, without alleging how or whether any
               27 writer of “Levitating” became aware of “Live Your Life” through any such chain.
  Mitchell     28 Indeed, Plaintiffs do not even allege that Ms. Tamposi was familiar with “Live
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                1 Your Life”—let alone that she provided any writer of “Levitating” with an
                2 opportunity to hear it. See, e.g., Ronk v. Hudson, 2022 WL 3013214, at *7 (C.D.
                3 Cal. Feb. 23, 2022) (“Plaintiff fails to allege facts showing each link in the chain
                4 of events leading to [Defendants’] access”) (granting motion to dismiss for failure
                5 to plausibly plead chain of events). Simply put, these allegations fail to establish
                6 any nexus between the “Levitating” writers and “Live Your Life.” Plaintiffs’ chain
                7 of events allegations thus fail as a matter of law. See, e.g., Star Fabrics, Inc., 2014
                8 WL 12591271, at *3-4 (“Because the Complaint fails to allege any concrete facts
                9 specifically linking The Wet Seal to the protected design, Star has not adequately
               10 alleged access by a chain of events.”); Klauber Brothers, 2018 WL 6984817, at *4
               11 (complaint lacked “specific factual support” for chain of events access theory and
               12 “fail[ed] to allege any concrete facts specifically linking Defendants’ activities to
               13 the Lace Designs”); Minaj, 2012 WL 12887393, at *3 (“[T]he pleadings fail to set
               14 forth any chain of events connecting the video to Minaj or Viacom. For instance,
               15 Plaintiff fails to explain how Minaj or Viacom would have known the video was
               16 available on YouTube”); Art Attacks Ink, 581 F.3d at 1143-44 (no chain of events
               17 where plaintiff proffered evidence that one of defendant’s decision-makers
               18 attended a county fair where plaintiff displayed its designs because there was no
               19 evidence the decision-maker saw the design or visited the fair during the relevant
               20 time period).
               21                               *            *             *
               22         The FAC’s access allegations are wholly insufficient to plead access under
               23 either a widespread dissemination or chain of events theory. These allegations,
               24 even if true, could not even establish a “bare possibility” of access (which itself
               25 would be insufficient). They certainly do not give rise to the requisite reasonable
               26 inference that writers of “Levitating” had a reasonable opportunity to hear “Live
               27 Your Life” prior to creating “Levitating.” The FAC should be dismissed on this
  Mitchell     28 ground.
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                1         B.    Plaintiffs Fail To Adequately Allege Substantial Similarity
                2         The Ninth Circuit applies a “two-part test to determine whether the
                3 defendant’s work is substantially similar to the plaintiff’s copyrighted work.”
                4 Skidmore, 952 F.3d at 1064. “The first part, the extrinsic test, compares the
                5 objective similarities of specific expressive elements in the two works,” while
                6 “distinguish[ing] between the protected and unprotected material in a plaintiff’s
                7 work.” Id. “The second part, the intrinsic test, ‘test[s] for similarity of expression
                8 from the standpoint of the ordinary reasonable observer, with no expert
                9 assistance.’” Id. At the pleading stage, only the extrinsic component is at issue.
               10 Basile v. Sony Pictures Entm’t, Inc., 2014 WL 12521344, at *3 (C.D. Cal. Aug. 1,
               11 2014). As explained below, the FAC must be dismissed due to Plaintiffs’ failure to
               12 properly allege substantial similarity.
               13         Plaintiffs’ FAC contains zero factual identification of any materials from
               14 “Live Your Life” that are allegedly infringed in “Levitating.” Courts consistently
               15 recognize that where a plaintiff fails to allege substantial similarity between the
               16 allegedly infringed work and the allegedly infringing work through non-conclusory
               17 facts, he or she fails to state a claim for copyright infringement. Indeed, “the
               18 extrinsic test demands more than listing elements in vague and conclusory fashion;
               19 it requires a plaintiff to ‘compar[e] those elements for proof of copying.’” Minaj,
               20 2012 WL 12887393, at *4 (granting motion to dismiss where “Plaintiff fail[ed] to
               21 compare the elements, or constellation of elements, from the two works,” and thus,
               22 “the Court ha[d] no factual basis to infer that the protected elements of the songs
               23 [were] substantially similar under the extrinsic test.”).
               24         Plaintiffs fail to plead the existence of any protectable similarities at all,
               25 much less substantial ones, that exist between “Live Your Life” and “Levitating.”
               26 Plaintiffs’ sole allegations regarding the purported similarities between the works
               27 at issue are devoid of a shred of factual detail and are entirely conclusory in nature.
  Mitchell     28 Indeed, Plaintiffs allege only that “‘Live Your Life’ and ‘Levitating’ are
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                1 substantially similar in their main melodic theme, supportive harmonies, and
                2 accompaniment” and “are both set to minor keys and have similar tempos and
                3 overall feel or style.” FAC, ¶¶ 27-28. No facts whatsoever are provided regarding
                4 any alleged musical similarity. Indeed, use of the minor key and tempo are not
                5 protectable, so those allegations are irrelevant to any substantial similarity analysis.
                6 Gray v. Hudson, 28 F.4th 87, 98 (9th Cir. 2022) (“[N]o person may copyright the
                7 minor scale, as such scales are common musical building blocks belonging to the
                8 public”); Tisi v. Patrick, 97 F. Supp. 2d 539, 548 (S.D.N.Y. 2000) (describing
                9 tempo as “non-protectible musical element[]”).
               10         Plaintiffs’ failure to allege how “Live Your Life” and “Levitating” are in any
               11 way substantially similar in protectable expression is fatal to Plaintiffs’
               12 infringement claim. See, e.g., Shaheed-Edwards, 2017 WL 6403091, at *3
               13 (“Plaintiffs’ allegations that the chorus, concept, and cadence of the two songs are
               14 similar are merely conclusory and cannot be sustained without more specificity.
               15 Accordingly, Plaintiffs have failed to state a claim for copyright infringement
               16 based on substantial similarity between the two works.”); McCoy-Harris, 2019 WL
               17 1002512, at *3 (“conclusory statement” that “Finding Boaz contains ‘portions’ of
               18 [plaintiff’s] screenplays … do[es] not satisfy Iqbal’s pleading standard” where
               19 “Plaintiff makes no effort to compare the copyrightable elements of Finding Boaz
               20 with either of the Works”); Evans v. NBCUniversal Media, LLC, 2021 WL
               21 4513624, at *5 (C.D. Cal. July 23, 2021) (allegations that “film copied numerous
               22 copyrightable elements of Plaintiff’s work” including “the title and medium of the
               23 screenplay, dialogue, structure, themes, choices of shots, camera, angles, colors,
               24 lighting, textual descriptors, and other artistic and expressive elements of
               25 Plaintiff’s work” were “conclusory allegations [that] do not satisfy Iqbal’s
               26 pleading standards”).6
               27
                    6
                   See also Hines v. Roc-A-Fella Recs., LLC, 2020 WL 1888832, at *4 (S.D.N.Y.
  Mitchell     28 Apr. 16, 2020) (“The complaint in this case entirely fails to identify which
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                1         Pleading requirements exist for a reason. Defendants are entitled to be
                2 apprised of specific allegations of the protectable expression that is allegedly
                3 infringed by their work. Without such a requirement, infringement claims would
                4 become moving targets, with copyright plaintiffs vaguely alleging similarities at
                5 the pleading stage with leeway to change and shift their theory as they please in
                6 discovery. See Martinez v. McGraw, 2010 WL 1493846, at *6 (M.D. Tenn. Apr.
                7 14, 2010) (“[W]hen a party fails to delineate the basis upon which a plaintiff
                8 claims two works are ‘substantially similar,’ it is ‘impossible for Defendants to
                9 answer or defend against Plaintiff’s claim,’ and Plaintiff’s claim must be
               10 dismissed.”). The need for a clear understanding of what is alleged to be infringed
               11 at the pleadings stage has only been further underscored by the Ninth Circuit’s
               12 recent seminal decisions in Skidmore v. Led Zeppelin and Gray v. Hudson, which
               13 reinforced that similarities based on the common use of basic musical building
               14 blocks, either alone or in combination, are not actionable. See Skidmore, 952 F.3d
               15 at 1069 (“Nor does copyright extend to ‘common or trite’ musical elements . . . or
               16 ‘commonplace elements that are firmly rooted in the genre’s tradition,’ . . . These
               17 building blocks belong in the public domain and cannot be exclusively
               18 appropriated by any particular author.”); Gray, 28 F.4th at 101-102 (“[T]he portion
               19 of the Joyful Noise ostinato that overlaps with the Dark Horse ostinato consists of
               20 a manifestly conventional arrangement of musical building blocks … both employ
               21 the pitch progression 3-3-3-3-2-2 played in a completely flat rhythm. This
               22
               23 elements of ‘Help Me’ were infringed or which elements of ‘Paper Chase’ and
                  ‘Toe 2 Toe’ are infringing. The complaint contains only broad allegations of
               24 similarity. These ‘vague and general allegations of similarity’ do not suffice.”));
                  Broughel v. Battery Conservancy, 2010 WL 1028171, at *2 (S.D.N.Y. 2010)
               25 (plaintiff denied leave to re-assert copyright infringement where plaintiff did not
                  “articulate with any specificity . . . what aspect of any images used by the
               26 defendant make them legally similar to her own copyrighted works.”); Perry v.
                  Mary Ann Liebert, Inc., 2018 WL 2561029, at *5 (S.D.N.Y. June 4, 2018)
               27 (“Plaintiff’s copyright infringement claim is dismissed for failure to plausibly
                  plead which aspect of the Pierce Article infringed a protectable aspect of her
  Mitchell     28 Dissertation and how those aspects are substantially similar.”).
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                1 combination is unoriginal because it is really nothing more than a two-note snippet
                2 of a descending minor scale, with some notes repeated.”).
                3         The need for clarity as to the scope of Plaintiffs’ claims is even more critical
                4 here in light of the similar action against Defendants pending in the Southern
                5 District of New York, entitled Larball Music Publishing, et al. v. Dua Lipa, et al.,
                6 Case No. 22-cv-1872 (the “Larball Action”).7 In the Larball Action, the plaintiffs
                7 have alleged that the same musical composition and sound recording “Levitating”
                8 infringe their alleged rights in different works, namely two musical compositions
                9 entitled “Don Diablo” and “Wiggle and Giggle All Night.” Since both cases assert
               10 infringement claims based on Defendants’ creation and exploitation of
               11 “Levitating,” it is crucial that Defendants be provided sufficient notice of the
               12 alleged similarities asserted by Plaintiffs, so that they can fully assess whether and
               13 to what extent there is overlap as to the musical materials claimed to be infringed
               14 in each action.
               15 V.      CONCLUSION
               16         For the foregoing reasons, Defendants respectfully request that the Court
               17 grant their motion to dismiss the FAC.
               18 DATED: November 14, 2022               DAVID A. STEINBERG
               19                                        GABRIELLA N. ISMAJ
                                                         MITCHELL SILBERBERG & KNUPP LLP
               20
               21
                                                         By: /s/ David A. Steinberg
               22                                             David A. Steinberg
                                                              Attorneys for Defendants
               23                                             Warner Records Inc., Dua Lipa,
                                                              Clarence Coffee, Jr., Sarah Hudson,
               24                                             and Stephen Kozmeniuk
                    7
               25   Defendants are simultaneously filing a motion to transfer this action to the
                  Southern District of New York, so that this action may be deemed related and/or
               26 consolidated with the Larball Action. Defendants respectfully request that the
                  Court defer adjudication of this motion to dismiss until after its adjudication of
               27 Defendants’ transfer motion. In the event this Court grants Defendants’ motion to
                  transfer, Defendants submit that it would be appropriate to have the Court sitting in
  Mitchell     28 the Southern District of New York adjudicate this motion to dismiss.
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                                      DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FAC
